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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION JACKSON

                                    )
ANNETTE MILIKEN,                    )
                                    )
       Plaintiff,                   )
                                    )
v.                                  )                 Case No. 1:15-cv-01279
                                    )
DANA LIMITED, LLC                   )
d/b/a/ DANA HOLDING                 )
CORPORATION                         )
                                    )
       Defendant.                   )
________________________________________________________________________________

                           NOTICE OF SETTLEMENT
________________________________________________________________________________



        Defendant Dana Holding Corporation and Plaintiff Annette Miliken, by and through their

respective attorneys, provide their Notice of Settlement and in support thereof state as follows:

        1.      The parties have reached an agreement as to the resolution of this ENTIRE litigation.

        2.      The parties are preparing the Settlement Agreement and anticipate completing and

executing the Settlement Agreement finalizing the settlement within the next thirty (30) days.

        3.      The parties anticipate submitting a joint stipulation requesting the dismissal of this

matter, with prejudice and in its entirety, within the next thirty (30) days.

        WHEREFORE, Defendant Dana Holding Corporation and Plaintiff Annette Miliken provide

their Notice of the Settlement in this matter and respectfully request that the Court vacate all existing

litigation dates in this matter as it has been resolved in its entirety.
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                                     Respectfully submitted,


                                                      FISHER & PHILLIPS, LLP


                                                      By: /s/ Robert Ratton______
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                                                      By: /s/ Jessica F. Salonus_____
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 15, 2016, I electronically filed the foregoing with the Clerk

of Court using the ECF system, which sent notice of the foregoing to Plaintiffs’ counsel.



                                                      /s/ Robert Ratton______
                                                      Robert Ratton (TN BPR#24669)




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